




Dismissed and Memorandum Opinion filed July 2, 2009








Dismissed
and Memorandum Opinion filed July 2, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00512-CV

____________

&nbsp;

DAVID JAMES, Appellant

&nbsp;

V.

&nbsp;

THERESA CHANG, Appellee

&nbsp;



&nbsp;

On Appeal from the
281st District Court

Harris County,
Texas

Trial Court Cause
No. 2009-05762

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed March 26, 2009.&nbsp; On June 18, 2009, appellant
filed a motion to dismiss the appeal.&nbsp; See Tex. R. App. P. 42.1.&nbsp; The motion is granted.

Accordingly,
the appeal is ordered dismissed.

PER
CURIAM

Panel consists of Justices Anderson, Guzman and Boyce.
&nbsp;





